Case 2:18-cr-20030-DML-DRG ECF No. 15, PageID.53 Filed 10/23/18 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




United States of America,

                                   Plaintiff,

v.                                                     Case No. 2:18−cr−20030−AC−DRG
                                                       Hon. Avern Cohn
Joseph Delfgauw,
                                   Defendant(s),




                                      NOTICE TO APPEAR

     The following defendant(s) are hereby notified to appear: Joseph Delfgauw

   The defendant(s) shall appear before District Judge Avern Cohn at the United States
District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
Michigan, for the following proceeding(s):

       • SENTENCING: November 26, 2018 at 02:00 PM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/M. Verlinde
                                                    Case Manager

Dated: October 23, 2018
